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                                     UNITED STATES DISTRICT COURT
 JEANNETTE J. CLACK                   WESTERN DISTRICT OF TEXAS                                        PHILIP J. DEVLIN
   CLERK OF COURT                   727 East Cesar E. Chavez Blvd., Suite A500                          CHIEF DEPUTY
                                            San Antonio, Texas 78206


                                                  August 25, 2021


MARGARET MORENO                                           §
     Plaintiff                                            §
V.                                                        §       CIVIL ACTION NO. SA-18-CV-1061-OLG
                                                          §
LOWE’S HOME CENTERS, LLC                                  §
      Defendant                                           §


Dear Counsel,

        I have been made aware by Chief Judge Orlando Garcia that he presided over the above-mentioned case, and
owned stock in the defendant’s company in a sum not greater than $10,000.00. However, his ownership of this stock
neither affected nor impacted his decisions in the case. Had he known of his stock ownership at the time the case
was assigned to him, he would have recused himself or divested his ownership of the stock as required by the Code
of Conduct for U.S. Judges. Included below are the Committee on Code of Conduct Advisory Opinion Number 71 and
69.

         Advisory Opinion 71 provides the following guidance for addressing disqualification that is not discovered
until after a judge has participated in a case:

         “A judge should disclose to the parties the facts bearing on disqualification as soon as those facts are learned,
even though that may occur after entry of the decision, the parties may then determine what relief they may seek and
a court (without the disqualified judge) will decide the legal consequence, if any, arising from the participation of the
disqualified judge in the entered decision.”

        Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral argument, the
Committee further explained similar considerations would apply when a judgement was entered in a district court by
a judge, and it is later learned that the judge was disqualified. On the other hand, in part, Advisory Opinion 69
provides:

         “Notwithstanding the preceding provisions of this Canon, if a judge to whom a matter has been assigned
would be disqualified because of a financial interest in a party (other than and interest that could be substantially
affected by the outcome, disqualification is not required if the judge (or the judge’s spouse or minor child) divests the
interest that provided the grounds for the disqualification.”
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         With Advisory Opinion 71 and 69 in mind and given that Chief Judge Garcia neither disqualified himself nor
divested his interest in the stock during the pendency of the case, you may respond to Chief Judge Garcia’s disclosure
of this potential case conflict. Should you wish to respond please submit your response no later than 10 (ten) days
from the date of this correspondence. Any response received will be reviewed by a judge independent of Chief Judge
Garcia.

                                                Sincerely,

                                                /s/ Jeannette Clack

                                                Jeannette Clack
                                                Clerk of Court
